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JUN 19 2018

IN THE UNITED STATES COURT OF APPEA L fwd. Bradley, Clerk of Cour
FOR THE FIFTH CIRCUIT

 

United States Court of Appeals
Fifth Circuit

No. 17-40884 FILED
April 27, 2018
D.C. Docket No. 2:138-CV-193

Lyle W.
D.C. Docket No. 2:13-CV-263 ye oe
D.C. Docket No. 2:13-CV-291
D.C. Docket No. 2:13-CV-348

 

MARC VEASEY; JANE HAMILTON; SERGIO DELEON; FLOYD CARRIER;
ANNA BURNS; MICHAEL MONTEZ; PENNY POPE; OSCAR ORTIZ; KOBY
OZIAS; LEAGUE OF UNITED LATIN AMERICAN CITIZENS; JOHN
MELLOR-CRUMMEY; DALLAS COUNTY, TEXAS; GORDON BENJAMIN;
KEN GANDY; EVELYN BRICKNER,

Plaintiffs - Appellees
Vv.

GREG ABBOTT, in his Official Capacity as Governor of Texas; ROLANDO
PABLOS, in his Official Capacity as Texas Secretary of State; STATE OF
TEXAS; STEVE MCCRAW, in his Official Capacity as Director of the Texas
Department of Public Safety,

Defendants - Appellants

UNITED STATES OF AMERICA,
Plaintiff - Appellee

TEXAS LEAGUE OF YOUNG VOTERS EDUCATION FUND; IMANI
CLARK,

Intervenor Plaintiffs — Appellees

Vv.

STATE OF TEXAS; ROLANDO PABLOS, in his Official Capacity as Texas
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Secretary of State; STEVE MCCRAW,, in his Official Capacity as Director of
the Texas Department of Public Safety,

Defendants - Appellants

TEXAS STATE CONFERENCE OF NAACP BRANCHES; MEXICAN
AMERICAN LEGISLATIVE CAUCUS, TEXAS HOUSE OF
REPRESENTATIVES,

Plaintiffs - Appellees
v.

ROLANDO PABLOS, in his Official Capacity as Texas Secretary of State;
STEVE MCCRAW, in his Official Capacity as Director of the Texas
Department of Public Safety,

Defendants - Appellants

LENARD TAYLOR; EULALIO MENDEZ, JR.; LIONEL ESTRADA; ESTELA
GARCIA ESPINOSA; MAXIMINA MARTINEZ LARA; LA UNION DEL
PUEBLO ENTERO, INCORPORATED,

Plaintiffs - Appellees
Vv.
STATE OF TEXAS; ROLANDO PABLOS, in his Official Capacity as Texas
Secretary of State; STEVE MCCRAW, in his Official Capacity as Director of
the Texas Department of Public Safety,

Defendants - Appellants

Appeal from the United States District Court for the
Southern District of Texas

Before HIGGINBOTHAM, JONES, and GRAVES, Circuit Judges.

 
 

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JUDGMENT

This cause was considered on the record on appeal and was argued by
counsel.

It is ordered and adjudged that the judgment of the District Court is
reversed and rendered.

IT IS FURTHER ORDERED that appellees pay to appellants the costs
on appeal to be taxed by the Clerk of this Court.
PATRICK E. HIGGINBOTHAM, Circuit Judge, concurring.

JAMES E. GRAVES, JR., Circuit Judge, concurring in part and dissenting in
part.

 

Certified as a true copy and issued
as the mandate on Jun 19, 2018

Attest: Sue W. 0 te

Clerk, U.S. rt of Appea&s, Fifth Circuit

 
